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SO ORDERED.

SIGNED this 29 day of May, 2013.




                                                 James P. Smith
                                        United States Bankruptcy Judge


                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF GEORGIA
                                       ATHENS DIVISION

     In the Matter of:                              :       Chapter 7
                                                    :
     JOHN BARRY COLVIN,                             :
                     Debtor                         :       Case No. 10-32367-JPS
                                                    :
     JETS R US, LLC and                             :
     RAYMOND O. BOYD,                               :
                        Plaintiffs                  :
                                                    :
                     vs.                            :       Adversary Proceeding
                                                    :       No. 11-3035
     JOHN BARRY COLVIN,                             :
                     Defendant                      :

                                ORDER ON RELIEF FROM STAY

             Debtor is a defendant in Adversary Proceeding No. 11-3035, Jets R US, LLC and

     Raymond O. Boyd vs. John Barry Colvin. Debtor is also a defendant in the case of

     Raymond O. Boyd, Assignee Of Athens First Bank & Trust, A Georgia State Bank vs. U.S.

     Jets, Inc. and John Colvin, State Court of Athens-Clarke County, State of Georgia, Civil

     Action No. ST-07-CR-0677 (hereinafter “State Court Case”).

             As a result of certain contempt orders entered in the State Court Case, this Court
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    entered an order on August 28, 2012, in this adversary proceeding, granting partial summary

    judgment to Plaintiffs on the issue of liability and holding that the claims of Plaintiffs

    against Debtor were nondischargeable pursuant to 11 U.S.C. § 523(a)(6). However, because

    there remained factual issues with respect to the amount of damages to which Plaintiffs were

    entitled, a trial on the issue of damages was scheduled for June 6, 2013.

            On May 17, 2013, for reasons unrelated to this adversary proceeding, an order was

    entered in the State Court Case vacating the contempt orders upon which this Court’s partial

    summary judgment order of August 28, 2012, was based. As a result, it appears that the

    issue of liability on the 11 U.S.C. § 523(a)(6) claims is now an issue again in this adversary

    proceeding. Accordingly, Debtor filed a motion for continuance of the trial in the adversary

    proceeding on the grounds that no discovery on the issue of liability had been conducted.

            A telephonic hearing on the motion for continuance in the adversary proceeding was

    held on May 29, 2013. After hearing argument of counsel, this Court granted the motion for

    continuance and stayed further proceedings in the adversary proceeding until such time as

    the State Court Case is concluded. Further, in the May 17, 2013, order in the State Court

    Case, the judge in that case noted that further proceedings in the State Court Case were

    stayed by this bankruptcy case. Accordingly, for the reasons stated in open court on May

    29, 2013, it is

            ORDERED AND ADJUDGED that the parties in the State Court Case are hereby

    granted relief from stay so as to proceed with the State Court Case until it is concluded by

    the entry of a final order or judgment.

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